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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


THE LANCE AND LINDA NEIBAUER
JOINT TRUST, by and through LANCE
NEIBAUER, as trustee,                                                  Case No. 6:14-cv-1192-MC

               Plaintiff,                                              ORDER

       v.

MICHAEL J. KURGAN, and individual,

            Defendant.
_____________________________

MCSHANE, Judge:

       In a ten-page order last December, I outlined defendant Michael J. Kurgan’s actions over

a two-and-one-half year period as he sought to avoid plaintiff’s attempts of obtaining discovery

in aid of judgment under federal rule 69(a)(2). ECF No. 95. In finding that Kurgan willfully

disregarded court orders regarding discovery, I concluded that, “At this time, the proper sanction

is that Kurgan is liable for all fees and costs plaintiff incurred in bringing this motion and in

seeking to obtain discovery under rule 69. Should Kurgan continue to deny plaintiff discovery,

whether by bad faith or frivolous legal arguments, he may face further sanctions.” ECF No. 95,

4. Plaintiff now moves for attorney’s fees of $40,538.50 and costs of $3,409.91 incurred in its

arduous attempts to obtain discovery under rule 69. ECF No. 96.

       “Sanctions for civil contempt may be imposed to coerce obedience to a court order, or to

compensate the party pursuing the contempt action for injuries resulting from the contemptuous

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behavior, or both.” General Signal Corp. V. Donallco, Inc., 787 F.2d 1376, 1380 (9th Cir. 1986).

Here, Kurgan must compensate the trust for injuries resulting from his contemptuous behavior.

Although Kurgan objects to some of the fees and costs, those objections are meritless. To be

clear, the award of fees and costs here is not a roundabout way for the court to enforce the money

judgment in favor of the trust.1 Instead, the fees and costs sought were all incurred after the

judgment, and the trust only incurred these fees and costs because of Kurgan’s willful violations

of rule 69. In addition to civil contempt sanctions, plaintiff’s fees and costs are justified under

rule 37(b)(2)(C). As outlined in my earlier order, Kurgan’s failure to provide discovery was not

substantially justified.

         Kurgan does not object to the reasonableness of the hourly rates sought. But a review of

the record demonstrates the hourly rates sought are reasonable.

         The Ninth Circuit applies the “lodestar” method for calculating attorney fees. Fischer v.

SJB–P. D. Inc., 214 F.3d 1115, 1119 (9th Cir. 2000). That calculation multiplies a reasonable

hourly rate by the number of hours reasonably expended in the litigation. Id. (citing Hensley v.

Eckerhart, 461 U.S. 424, 433, 103 S. Ct. 1933 (1983). A “strong presumption” exists that the

lodestar figure represents a “reasonable fee,” and it should therefore only be enhanced or reduced

in “rare and exceptional cases.” Pennsylvania v. Del. Valley Citizens' Council for Clean Air, 478

U.S. 546, 565, 106 S. Ct. 3088, 92 L. Ed. 2d 439 (1986). In determining a reasonable hourly rate,

the court looks to prevailing market rates. Prevailing market rates are those that the local legal

market would pay for a case of this nature to a lawyer of comparable skill, experience, and

reputation to a plaintiff's counsel of record. Blum v. Stenson, 465 U.S. 886, 897 (1984).

1
 In fact, in my order finding Kurgan in contempt, I specifically noted that “whether plaintiff may successfully
enforce the judgment against jointly held property is an issue separate from whether such information is
discoverable under rule 69(a)(2).” ECF No. 95, 2.
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Accordingly, this District uses the Oregon State Bar 2017 Economic Survey as the initial

benchmark when reviewing fee petitions. The court reviewed the experience of the attorneys

along with their rates, compared those rates to the economic survey, and determines those hourly

rates are reasonable. See Henderson Decl. ECF No. 97, 2-3. Additionally, the court reviewed the

time sheets and determines the hours spent, ECF No. 96-1, and costs incurred, ECF No. 96-2,

were incurred because of Kurgan’s willful violations of rule 69.

       The Trust’s Motion for Attorney’s Fees, ECF No. 96, is GRANTED. The trust is awarded

attorney’s fees of $40,538.50 and costs of $3,409.91.

IT IS SO ORDERED.

       DATED this 8th day of May, 2018.

                                             ______/s/ Michael J. McShane__
                                                      Michael McShane
                                                 United States District Judge




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